Case 2:20-cr-00317-PD Document 39 Filed 02/21/22 Page 1of 9

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA : Docket No. 0313 2:20-CR-00317-001
Vv.
THOMAS HARRIS, JR. : Attorney I.D. No. 52595

SENTENCING MEMORANDUM
I. BIOGRAPHICAL INFORMATION

Thomas Harris, Jr. is twenty-nine (29) years of age, having been born on January
17, 1993 to the non-marital relationship of Thomas Harris, Sr. and Suzette Lewis.
Thomas Harris, Jr. was born in Vieux Fort, St. Lucia. It is believed Mr. Harris, Jr.’s
status in the United States is that of a permanent resident and not an American citizen.

Mr. Harris, Jr.’s formative years were spent in St. Lucia where he completed his
elementary and secondary education. In 2010, he moved to the United States of America
in order to further his education. In 2012, he received an Associates Degree in computer
networking from Rockland Community College in Suffern, New York. Prior to the |
Covid-19 pandemic, Thomas Harris, Jr. was gainfully employed as an analyst for Hill
International, Inc. in Philadelphia. Mr. Harris, Jr. always maintained legitimate
employment, having also worked for Price Waterhouse Coopers, LLP; Thomas Jefferson
University Hospital; and Walgreens.

Thomas Harris, Jr. has never been married, nor does he have children. However,
he has been in a longstanding romantic relationship with his significant other, Ms. Emily
Velasquez. Ms. Velasquez remains devoted to Mr. Harris, Jr. and longs for the day when

1
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Case 2:20-cr-00317-PD Document 39 Filed 02/21/22 Page 2 of 9

the couple may be properly reunited.

CRIMINAL HISTORY

Mr. Harris, Jr.’s criminal history is not significant. His prior adverse contact with
law enforcement consists of two (2) separate convictions in the Bucks County Court of
Common Pleas for the third-degree misdemeanor offense of Disorderly Conduct and a
conviction for a first-time offense of Driving Under the Influence of Alcohol or a
Controlled Substance, for which he received the applicable minimum mandatory sentence
of seventy-two (72) hours of incarceration. It should be noted that these three (3) prior
convictions, which occurred in 2014, 2015, and 2016, all resulted with Mr. Harris, Jr.

accepting responsibility for his conduct by entering pleas of guilty.

PROCEDURAL HISTORY

Mr. Harris, Jr. was arrested on July 25, 2020 and has remained in federal custody
since that time. Shortly thereafter, on September 22, 2020, he was indicted by a grand
jury in the Eastern District of Pennsylvania and charged with the following:

1. Making False Statements to a Federal Firearms Licensee, in violation of
18 U.S.C. § 924(a)(1)(A) — Counts 1 through 12 of the Indictment;

2. Dealing in Firearms without a License, in violation of 18 U.S.C. §
922(a)(1)(A) — Count 13 of the Indictment;

3, Delivery of Firearms to a Common Carrier Without Written Notice, in

violation of 18 U.S.C. § 922(e) and § 924(a)(1)(D) — Count 14; and

2
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Case 2:20-cr-00317-PD Document 39 Filed 02/21/22 Page 3 of 9

4. Smuggling Goods from the United States, in violation of 18 U.S.C. § 554
— Count 15.

On November 2, 2021, Mr. Harris, Jr. appeared before this Honorable Court and
entered a plea of guilty to Counts 1 through 15 of the Indictment. This plea of guilty was
entered pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C). The specific

sentence recommended by the United States is forty-six (46) months of imprisonment.

THE PRESENTENCE REPORT

On Monday, February 14, 2022, counsel herein, via video, reviewed the twenty-
three (23) page Presentence Report with Thomas Harris, Jr. The report was reviewed in
its entirety, page by page. Prior to counsel reviewing the report with Mr. Harris, Jr., Mr.
Harris, Jr. had the opportunity to previously review the report on his own. At the
conclusion of reviewing the presentence report, neither Mr. Harris, Jr. nor counsel herein
had any corrections and/or objections to it. Accordingly, it is respectfully requested this

Honorable Court adopt and approve the report.

THE APPROPRIATE SENTENCE

The United State Court of Appeals for the Third Circuit has outlined the process

by which a sentencing hearing must be conducted in order to comply with United States

v. Booker, 543 U.S.C. § 220 (2005):
A. The Sentencing Court must calculate the applicable sentencing guidelines;
B. The Sentencing Court must rule on any motions and then state how said

3
Case 2:20-cr-00317-PD Document 39 Filed 02/21/22 Page 4 of 9

motions may affect the applicable guideline range; and
C. The Sentencing Court is to consider the factors outlined in 18 U.S.C. §
3553 (a).

A District Court is no longer bound by the recommended guideline range, but
must impose a sentence based on all the factors articulated in 18 U.S.C. § 3553(a).
United States v. Booker, 543 U.S. 220 (2005), United States v. Grier, 475 F.3d 556, 561
(3d. Cir. 2007).

When imposing a sentence, a Court must give “rational and meaningful
consideration of the factors enumerated in 18 U.S.C. §3553(a) and make a
“individualized assessment based on the facts presented.” United States v. Tomko, 562
F.3d 558 (3d Cir. 2009). It is well settled under §3553(a), “the Court shall impose a
sentence sufficient, but not greater than necessary, to comply with the purposes of
sentencing. Those purposes are “(A) to reflect the seriousness of the offense, to promote
respect for the law, and to provide just punishment for the offense; (B) to afford adequate
deterrence to criminal conduct; (C) to protect the public from further crimes of the
defendant; and (D) to provide the defendant with needed educational or vocational
training, medical care, or other correctional treatment in the most effective manner.” 18
U.S.C. §3553(a)(2). In determining that sentence, this Court must consider “the nature
and circumstances of the offense and the history and characteristics of the defendant,” 18
U.S.C. §3553(a)(1), “the kinds of sentences available,” §3553(a)(3), the guidelines and |
guideline range, §3553(a)(4), the guidelines’ policy statements, §3553(a)(5), “the need to
avoid unwarranted sentence disparities among defendants with similar records who have

4
Case 2:20-cr-00317-PD Document 39 Filed 02/21/22 Page 5 of 9

been found guilty of similar conduct,” §3553(a)(6), and “the need to provide restitution to
any victims of the offense,” §3553(a)(7).

After taking into consideration “grouping” pursuant to USSG § 3D1.3(a) and
acceptance of responsibility pursuant to USSG § 3E1.1(a) and (b), Mr. Harris, Jr.’s total
offense level is twenty-three (23), and his prior record score is a II. Accordingly, the
recommended guideline range of imprisonment is fifty-one (51) months to sixty-three
(63) months. It is respectfully suggested the recommended sentence of forty-six (46)
months of incarceration, against the backdrop of the sentencing guidelines, is per se
“reasonable”.

Thomas Harris, Jr. has, in many ways, led a productive and law-abiding life. He
came to the United States in order to better himself, and he accomplished his goal, in
part, by remaining gainfully employed and furthering his education. He has proven to be
a productive member of society and clearly possesses certain positive attributes which
causes his significant other, Emily Velasquez, a hardworking, decent, and law-abiding
young woman, to remain loyal to him. Although Mr. Harris, Jr. has previously been
convicted for offenses which involve the possession of a small amount of marijuana, as
well as the abuse of alcohol, it does not appear as if he has any serious or significant
substance abuse issues. To the contrary, Mr. Harris, Jr. was amenable to treatment and
court supervision by successfully meeting all the terms and conditions of his Bucks
County Court of Common Pleas sentences. There is no indication Mr. Harris, Jr. suffers
from any emotional and/or mental health issues.

It would be disingenuous to in any way argue Mr. Harris, Jr.’s crimes are not very

5
Case 2:20-cr-00317-PD Document 39 Filed 02/21/22 Page 6 of 9

serious in nature. Although he was not precluded by law to purchase firearms, the
surreptitious shipment of them overseas is egregious. Mr. Harris, Jr. broke the law of
both his home country and his adopted country. However, there is absolutely no
indication Thomas Harris, Jr. is part of any international gun smuggling cartel or gang.
Furthermore, there does not appear to be any evidence Mr. Harris, Jr. was shipping the
firearms to St. Lucia in furtherance of any criminal activity in that country. Mr. Harris,
Jr.’s interest in committing these crimes is pecuniary in nature. The firearms in question
were illegally shipped to friends of Mr. Harris, Jr.’s in St. Lucia. Evidently, these
firearms could be resold for a substantial profit. It remains uncontroverted Mr. Harris, Jr.
had no idea to whom the firearms would ultimately be sold and, therefore, their ultimate
use remains unknown. In large part, this is the most offensive aspect of Mr. Harris, Jr.’s
conduct. To date, counsel herein has not been advised these firearms have been traced to
any crime of violence in St. Lucia.

After serving his jail sentence in the United States, Thomas Harris, Jr. will almost
certainly be deported to St. Lucia and will forever be precluded from returning to the
United States of America. He has been well aware of this fact from the date of his arrest,
July 25, 2020. Thomas Harris, Jr.’s greed has resulted in a substantial deprivation of his
freedom and the inability to ever return to the United States. This conviction and the
consequences which will accompany it most certainly will deter others from engaging in
similar conduct, and will most assuredly protect the public from further crimes of
Thomas Harris, Jr.

Mr. Harris, Jr. is articulate, intelligent, well educated, and easily employable.

6
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Case 2:20-cr-00317-PD Document 39 Filed 02/21/22 Page 7 of 9

Candidly, he is not in need of educational or vocational training. It should be noted while

incarcerated at FDC — Philadelphia, Mr. Harris, Jr. has participated in forty-nine (49)

hours of educational instruction.

CONCLUSION

For all of the above-stated reasons, it is respectfully requested this Honorable
Court adopt and approve the recommended sentence of forty-six (46) months’

imprisonment pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C).

Respectfully Submitted,

A

Suis R. Busico, Esquire
Attorney for Defendant

   
Case 2:20-cr-00317-PD Document 39 Filed 02/21/22 Page 8 of 9

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CERTIFICATE OF COMPLIANCE

I certify that this filing complies with the provisions of the Public Access Policy of the
Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential

information and documents.

Submitted by: Louis R. Busico, Esquire

Signature: feo [if-Aueo
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Name: Louis R. Busico, Esquire

 

Attorney No. (if applicable): 52595
Case 2:20-cr-00317-PD Document 39 Filed 02/21/22 Page 9 of 9

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: Docket No. 0313 2:20-CR-003 17-001

: Attorney I.D. No. 52595

CERTIFICATE OF SERVICE

I, Louis R. Busico, hereby state that a true and correct copy of the Sentencing Memorandum

was sent to the parties below on Monday, February 21, 2022 via ECF and email to:

lenora_kashner_wittje@paed.uscourts.gov
Honorable Paul S. Diamond, U.S.D.J.
U.S.D.C. for the Eastern District of Pennsylvania

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